27 F.3d 563
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Gregory Marshall, Plaintiff Appellant,andAbdul S. MUHAMMAD;  Henry T. McArthur;  Douglas Chichester;Alvin Jackson-Bey;  Michael Head-Bey;  KevinGardner;  Germaine Bolling;  DonaldLomax, Plaintiffs,v.Mr. Johnson;  Mr. Moss;  John Doe, DIRECTOR of Prison HealthServices, Defendants, Appellees.
    No. 94-6426.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 24, 1994.Decided June 22, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., Chief District Judge.  (CA-93-1876)
      Gregory Marshall, Appellant Pro Se.
      D.Md.
      DISMISSED.
      Before WIDENER, WILKINSON, and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying his motion for oral hearing in his 42 U.S.C. Sec. 1983 (1988) action.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    